                                                              1   TIMOTHY W. BOWMAN, ESQ.
                                                                  FARLEY & GRAVES, P. C.
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                                                              4
                                                                  Attorneys for Defendant Barbara Knox, M.D.
                                                              5

                                                              6                          IN THE UNITED STATES DISTRICT COURT

                                                              7                      FOR THE DISTRICT OF ALASKA AT FAIRBANKS

                                                              8   JUSTIN ACKER, EMILY ACKER, E.A. (2019),
                                                                  I.A. (2020); JOHN DOE, JANE DOE, JOHN
                                                              9   DOE JR. (2020), AND JANE DOE JR. (2016),

                                                             10                                  Plaintiffs,

                                                             11                          v.
FARLEY & GRAVES, P. C.

                         (907) 274-5100 FAX (907) 274-5111
                            ANCHORAGE, ALASKA 99501




                                                             12   PROVIDENCE HEALTH & SERVICES                           Case No. 4:22-cv-00017 SLG
                              807 G STREET, SUITE 250




                                                                  WASHINGTON d/b/a PROVIDENCE ALASKA
                                                             13   MEDICAL CENTER, BARBARA KNOX, M.D.,
                                                                  and BRYANT SKINNER,
                                                             14
                                                                                                 Defendants.
                                                             15

                                                             16                    MOTION UPON STIPULATION FOR STAY, PENDING
                                                                                   STATE COURT APPROVAL OF MINOR DISMISSAL
                                                             17
                                                                         COMES NOW, the parties above named, by and through their respective counsel and
                                                             18
                                                                  hereby give the Court notice that Plaintiffs have agreed to a walkaway dismissal with prejudice
                                                             19
                                                                  of all claims filed against the Defendants in this case.
                                                             20
                                                                         USDC, District of Alaska Local Civil Rule 68.1 holds that dismissal of a minor’s claim
                                                             21
                                                                  must be approved by the Superior Court for the State of Alaska, pursuant to Alaska Civil Rule
                                                             22
                                                                  90.2. Since the named Plaintiffs include minor children, Plaintiffs will petition the State Court
                                                             23
                                                                   MOTION UPON STIPULATION FOR STAY, PENDING STATE       Page 1 of 3                             /JW
                                                                   COURT APPROVAL OF MINOR DISMISSAL
                                                                   ACKER ET AL V. KNOX ET AL                                                                 .P.33112
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                                                              1   for approval of the dismissal. The parties respectfully request the Court stay this matter in its

                                                              2   entirety during the pendency of the petition for approval of the dismissal. Upon receiving the

                                                              3   State Court’s order (and with the expectation that it will approve the dismissal), the parties will

                                                              4   submit the necessary filings to effectuate the dismissal of this matter with prejudice.

                                                              5                                                 KRAMER AND ASSOCIATES

                                                              6   Dated: _03/19/2024_____________               By: __s/Michael C. Kramer (w/Consent) ____
                                                                                                                      MICHAEL C. KRAMER
                                                              7                                                       Alaska Bar No.: 9605031
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                                                              9                                                       Email: service@mikekramerlaw.com
                                                                                                                      Counsel for Plaintiffs
                                                             10
                                                                                                                CASHION GILMORE & LINDEMUTH
                                                             11
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                                                             12
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                                                                  Dated: __03/18/2024__________                 By: __s/Chester D. Gilmore (w/Consent)_______
                                                                                                                      CHESTER D. GILMORE
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                                                                                                                      Counsel for Defendants PAMC; Bryant
                                                             16                                                       Skinner

                                                             17                                                 FARLEY & GRAVES, P. C.

                                                             18
                                                                  Dated: ___03/19/2024_________                 By:     s/Timothy W. Bowman
                                                             19                                                         TIMOTHY W. BOWMAN
                                                                                                                        Alaska Bar No.: 0905012
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                                                                                                                        M.D.
                                                             23
                                                                   MOTION UPON STIPULATION FOR STAY, PENDING STATE      Page 2 of 3                                /JW
                                                                   COURT APPROVAL OF MINOR DISMISSAL
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                                                              2             CERTIFICATE OF SERVICE

                                                                       Pursuant to Civil Rule 5, I hereby certify that on
                                                              3   the 19th day of March 2024 a true and correct copy of
                                                                  the foregoing was served CM/ECF electronically on the
                                                                  following person(s):
                                                              4
                                                                      Michael C. Kramer, Esq.
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                                                                      arnell@kclawak.com

                                                              8       Chester D. Gilmore Esq.
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                                                                   MOTION UPON STIPULATION FOR STAY, PENDING STATE          Page 3 of 3       /JW
                                                                   COURT APPROVAL OF MINOR DISMISSAL
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